Deborah Beard, Account Planner Communications Group
400 West Capitol, Suite 1391 Little Rock, Arkansas 72201
Dear Ms. Beard:
You have requested approval, pursuant to the Interlocal Cooperation Act (A.C.A. § 25-20-101 et seq.), of a proposed interlocal agreement between the Arkansas Department of Human Services — Division of Medical Services (referenced as "the State" in the proposed agreement) and the Memphis and Shelby County Health Department.
You have submitted a copy of the agreement, under the terms of which the parties agree generally to cooperate in the continued operation of an outreach program to encourage early and continuous prenatal care (denominated in the proposed agreement "Campaign for Healthier Babies/Healthy Baby"), specifically by gaining access to the electronic media and other material production efficiencies that are made possible through a cooperative project.
The Interlocal Cooperation Act requires that interlocal agreements for joint or cooperative action specify the following items:
  (1) The duration of the agreement;
  (2) The purposes of the agreement;
  (3) The manner of financing the joint or cooperative undertaking and of establishing and maintaining a budget for it; *Page 2 
  (4) The methods of accomplishing termination of the agreement and for the disposal of property (if any) upon termination;
  (5) Any other necessary and proper matters.
A.C.A. § 25-20-104(d).
I am required by law to review the agreement for the purpose of determining whether it is in proper form, as described above, and is otherwise compatible with the laws of the state.
Having analyzed the agreement you have submitted, I find that it is in proper form and otherwise meets the requirement of law. Accordingly, it is hereby approved as submitted.
Assistant Attorney General Jack Druff prepared the foregoing opinion, which I hereby approve.
Sincerely,
DUSTIN McDANIEL Attorney General
DM:JHD/cyh
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